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                                                                                 December 2, 2020

             Via ECF

             Honorable Lewis J. Liman
             United States District Judge
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                        Re:        HC2, Inc. v. Andrew Delaney
                                   Civil Action No. 20-cv-03178-LJL

             Dear Judge Liman:

                     This firm represents HC2, Inc. This Court’s Order entered November 30, 2020 (“Order”),
             and December 1, 2020, directed Defendant to file an affidavit or declaration submitting the specific
             documents that the Amended Counterclaims (“Counterclaims”) incorporate by reference. See ECF
             No. 93. Plaintiff writes because Defendant’s filing in response to the Order disregards the Order’s
             specific mandate and instead submits additional information not pleaded in the Counterclaims. See
             ECF No. 95.

                    This Court’s Order clearly specified the documents that Defendant was to file. Those
             documents are the New York City Health Department guidance issued February 14, 2020, Centers
             for Disease Control and Prevention guidance issued March 2, 2020, Governor Cuomo’s Executive
             Order dated March 7, 2020, and President Trump’s speech, as alleged in the Counterclaims’ paragraph
             14 and Exhibit A. See ECF No. 93. The Order specified these documents should all pre-date March
             18, 2020. Id. Defendant submits these documents as Exhibits 1, 3, 4, and 5 to the Rotman
             Declaration.

                      However, Exhibit 2 to the Rotman Declaration improperly submits “NYS Dept. of Health
             ‘Interim Guidance for Procedures When Identifying An Employee with Concerns for COVID-19
             Exposures,’ dated March 11, 2020.” Rotman Decl. Ex. 2, ECF No. 95. Defendant did not plead this
             guidance in his Counterclaims. He may not raise new allegations in opposition to a motion to dismiss,
             and he cannot do so now. See Williams v. U.S. Info. Sys., Inc., No. 11 Civ. 7471 (ER), 2013 WL
             214318, *4 n.4 (S.D.N.Y. Jan. 17, 2013) (the court may not consider new allegations raised for the
             first time in plaintiff’s opposition to a motion to dismiss.). These new allegations and information
             should be stricken.

                                         A South Carolina Professional Corporation        Peter O. Hughes      New Jersey Managing Shareholder
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        Defendant also improperly submits other information and argument. The Rotman Declaration
cites “NYS Dept. of Labor FAQ’s” and quotes the “DOL [sic]”. Rotman. Decl. ¶ 3. Defendant gives
citation for this unpled information via an HTML link to “interim guidance” dated July 17, 2020.
This citation clearly post-dates March 18th, and violates both the Williams holding, and this Court’s
Order. Defendant’s assertions as well as the related citations and quotations should be stricken.

       Plaintiff thanks the Court for its time and attention to this matter.


                                              Respectfully Submitted,

                                              OGLETREE, DEAKINS, NASH,
                                              SMOAK & STEWART, P.C.

                                              s/ Michael Nacchio

                                              Michael Nacchio
                                              Valerie Weiss

To:
All counsel of record (VIA ECF)


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